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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

JAH JAH BEY,                      )
1462 Belmont Street D-Level       )
Washington, D.C. 20009            )
                                  )
       Plaintiff,                 )                          Civil Action No: 1:14-cv-00860
                                  )
v.                                )
                                  )
EQUIFAX INFORMATION SERVICES LLC, )
1550 Peachtree Street, NW         )
Atlanta, GA 30309                 )
                                  )
       Defendant.                 )


                                    NOTICE OF REMOVAL

        Defendant, Equifax Information Services LLC (“Equifax”), by Counsel, and hereby file

this Notice of Removal of this action from the Superior Court of the District of Columbia

wherein it is now pending as Case No. XX-XXXXXXX, to the United States District Court for the

District of Columbia. This Notice of Removal is filed pursuant to 28 U.S.C. §§ 1441 and 1446.

In support hereof, Defendants show this Court as follows:

        1.      An action was filed on April 30, 2014 in the Superior Court for the District of

Columbia, entitled Bey v. Equifax Information Services LLC, Case No. XX-XXXXXXX (the “State

Court Action”).

        2.      Equifax was served with the Complaint on May 6, 2014.

        3.      This Notice is being filed with this Court within thirty (30) days after Equifax was

served with a copy of Plaintiff’s initial pleading setting forth the grounds for his action and his

claims for relief.
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         4.      This Court has original jurisdiction over this case pursuant to 28 U.S.C. § 1331, in

that this is a civil action arising under the Constitution, laws or treaties of the United States;

specifically 15 U.S.C. § 1681 et seq., otherwise known as the Fair Credit Reporting Act

(“FCRA”), as follows:

                 (a)    Plaintiff’s Complaint, on its face, alleges a violation of the FCRA. (See

Exhibit A, Complaint, ¶¶. 26-30, 32-33, alleging violations of the FCRA.)

                 (b)    The FCRA, pursuant to 15 U.S.C. § 1681(p), provides that any action

alleging a violation of its provisions “may be brought in any appropriate United States district

court without regard to the amount in controversy . . .”

         5.      Promptly after the filing of this Notice of Removal, Equifax shall give written

notice of the removal to Plaintiff and to the Clerk of the Superior Court for the District of

Columbia, as required by 28 U.S.C. § 1446(d).

         6.      Attached hereto, as Exhibit A, are copies of the Summons, Complaint, and Initial

Order and Addendum served upon Equifax in the State Court Action.

         WHEREFORE, Equifax requests that the above-described action be removed to this

Court.

         Respectfully submitted this 23rd day of May, 2014.

                                                KING & SPALDING

                                                By:_/s/ Brian Meiners___________
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                                                Suite 200
                                                Washington, DC 20006-4707
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                                CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a true and correct copy of the foregoing by

depositing a copy of the same in the United States Mail, first class postage prepaid, addressed to

counsel of record as follows:

Jah Jah Bey
1462 Belmont Street D-Level NW
Washington, DC 20009
Pro Se Plaintiff


                                                    By:_/s/ Brian Meiners______________
                                                       Brian R. Meiners
                                                       Counsel for EQUIFAX
                                                       INFORMATION SERVICES LLC




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